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MICHELLE JEN`SE
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ULS. v. Lom`s Ozzg, CR] "?ml§?-L~RS.L

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imr§uan§; to 21 U.S-C. § 853€€}( l ), is appropriate'.

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